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‘ NoRTHEN DISTRICT oF TEXAS w warn er »:‘c"ar

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JILL SCOTT AND STUART SCOTT,

INDIVIDUALLY AND AS NEXT

FRIENDS OF MADISON SCOTT
Plaintiffs/Movants

 

 

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VS.

BAYLOR UNIVERSITY MEDICAL

CENTER d/b/a THE KIMBERLY

H. COURTWRIGHT & JOSEPH

SUMMERS INSTITUTE OF

METABOLIC DISEASE,
Defendant/Respondent.

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§ No. 3-02Cv 1265R
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PLAINTIFFS’ OBJECTION TO FINDINGS, CONCLUSIONS, AND
REC()MMENDATION OF U.S. MAGISTRATE JUDGE

Plaintiffs J ill Scott and Stuart Scott (the Scotts), pursuant to 28 U.S.C. § 636 (b), hereby file
their written objection to the findings, conclusions, and recommendation of the U.S. Magistrate
Judge entered in the above matter on November 4, 2002, and in support thereof, Would show as
follows:

l. With only one eXception, the Scotts Wholly embrace and agree With the “Findings,
Conclusions and Recommendation of the United States Magistrate Judge” entered in the above
matter on November 4, 2002. The Magistrate Judge correctly found and concluded that: (l) the
Scott’s motion for the assessment of costs, attorney fees and sanctions Was timely as a matter of laW;
(2) the petition for removal filed by the Defendant Baylor Hospital (“Baylor”) Was objectively
meritless; and (3) the amount of $25,8 12.50 Would be a fair and reasonable amount for Baylor to pay

for attorney fees incurred in responding to the petition for removal and securing the remand of the

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case to state court, pursuant to 28 U.S.C. § 1447 (c). While the Magistrate Judge did not recommend
the award all of the attorney fees Plaintiffs sought, the Magistrate Judge’s analysis of the facts and
the law relevant to these issues was careful, meticulous, and thorough, and Plaintiffs believe that
no legitimate complaint or objection may be raised as to these findings and conclusions Thus,
Plaintiffs have no complaint or objection regarding the ultimate recommendation that the amount
of 325,812.50 be awarded and assessed against Baylor as attorneys fees.
2. ln addition to attorneys fees, Plaintiffs sought to hold Baylor responsible for the economic
losses Plaintiffs have sustained by virtue of the postponement and delay of their case that resulted
from Baylor’ s improper removal. As proof of the proper amount of such loss and damage, Plaintiffs
submitted incontrovertible evidence that Baylor itself had previously admitted in open court that
the sum of $82, 720. 00 per month represented fair and reasonable compensation to the Plaintiffs
for any delay of their case occasioned by Baylor. However, with respect to Plaintiffs’ effort to hold
Baylor responsible for the economic loss and damage caused by its improper removal, the Magistrate
Judge stated as follows:
Plaintiffs seek $82,720.00 per month for each month the state court trial has been
delayed in this case due to Baylor’s improper removal. [citation omitted]. However,
Plaintiffs cite to no authority that would allow this Court, through its inherent
powers, to impose sanctions of this variety and magnitude against Baylor even if the
Court were to conclude that Baylor acted in bad faith. [emphasis original]. As such,
Plaintiffs’ motion should be DENIED as to the $82,720.00 per month in other
sanctions
(Findings, Conclusions, and Recommendation, p. 7). Based upon the conclusion that this type of
sanction could not be assessed under the Court’ s inherent powers, the Magistrate Judge did not reach

the issue of whether Baylor or its counsel acted in bad faith, and declined to award any amount for

Plaintiffs’ economic loss.

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3. With all respect to the Magistrate Judge, Plaintiffs believe there is good authority for the
proposition that a Court, in the exercise of its inherent powers, may direct that a litigant be fully
compensated for the injury, loss and damage occasioned by an opposing party’s bad faith conduct.
lt is well established that in the exercise of its civil contempt jurisdiction, a court may fashion
sanctions and remedies which compensate the complaining party for losses sustained by virtue of
the offending conduct. American Airlines, lnc. v. A11ied Pilots Ass’n, 228 F.3d 5 74, 584 - 5 (5th Cir.

2000) cert. denied 531 U.S. 1191 (2001) and cases cited therein; see also American Airlines lnc.

 

v. A11ied Pilots Ass’n, 53 F.Supp. 2d 909 (1999) affd 228 F.3d 574 (5th Cir. 2000) cert. denied 531
U.S. 1 191 (2001) (assessing 845 million as compensation for civil contempt).1 Civil contempt
jurisdiction is merely one facet and component of the broader “inherent power” that a court possesses
to manage its own affairs As the U.S. Supreme Court noted in Chambers v. NASCO` lnc., 501 U.S.
32 (1991):

“lt has long been understood that "[c]ertain implied powers must necessarily result
to our Courts of justice from the nature of their institution," powers "which cannot
be dispensed With in a Court, because they are necessary to the exercise of all others."
[citations omitted]. For this reason, "Courts of j ustice are universally acknowledged
to be vested, by their very creation, with power to impose silence, respect, and
decorum, in their presence, and submission to their lawful mandates." [citations
omitted]. These powers are "governed not by rule or statute, but by the control
necessarily vested in courts to manage their own affairs so as to achieve the orderly
and expeditious disposition of cases." Link v. Wabash R. Co., 370 U.S. 626, 630
-631 (1962). ...[I]t is firmly established that "[t]he power to punish for contempts is
inherent in all courts." [citations omitted]. This power reaches both conduct before
the court and that beyond the court's confines, for "[t]he underlying concern that gave
rise to the contempt power was not . . . merely the disruption of court proceedings
Rather, it was disobedience to the orders of the Judiciary, regardless of whether such
disobedience interfered with the conduct of trial. [citations omitted].”

 

‘ Accord Matter of General Motors Corp., 61 F.3d 256, 259 (4th Cir. 1995); Halderman by Halderman v.
Pennhurst State School, 49 F.3d 939, 941 (3’°l Cir. 1995); United States v. Berg, 20 F.3d 304, 311 (7th Cir. 1994).

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501 U.S. at 43- 4. Given that a court, in the exercise of its civil contempt powers, may fashion
whatever sanction or remedy that is appropriate to compensate the injured party, there is no
principled reason to deny that same authority to a court in the exercise of its broader “inherent
powers,’ particularly where the former is but one component of the latter. ld.

4. As such, Baylor and/or its counsel may be responsible for the economic loss, injury, and
damages Plaintiffs sustained by virtue of the delay in the resolution of their case, if : (1) Baylor and/ or
its counsel acted in “bad faith;” and (2) there is evidence of the appropriate amount of the loss,
injury, and damages Because the Magistrate Judge’s view as to the scope of its “inherent power”
was too narrow and limited, the Magistrate Judge did not address the issue of “bad faith.” However,
the fact that Baylor’s was objectively meritless certainly raises an inference of “bad faith,” and
Plaintiffs, in their briefing to the Court, pointed to other evidence strongly suggestive of “bad faith”
on the part of Baylor and/or its counsel.

5. Plaintiffs also presented evidence (indeed, compelling evidence) as to the appropriate amount
to award them for their economic loss, injury, and damages Plaintiffs established that Baylor itself,
through counsel, admitted in the state court proceedings that the sum of $82, 720. 00 per month would
represent fair and reasonable compensation to the Scotts for any delay in the trial of the case
occasioned by Baylor, and in fact made an unequivocal offer to pay such amounts2 Presumably,

Baylor and its counsel would not have made such an offer if they felt that this amount would over-

 

2 The Magistrate Judge pointed out in the Findings, Conclusions and Recommendation that the Scotts rejected
Baylor’s offer and instead sought a trial without further delay. (Findings, Conclusions, and Recommendation, p. 7, n.
2). However, Plaintiffs were not seeking to hold Baylor responsible on the theory that there was a binding stipulation
or agreement to pay such amounts, but were instead utilizing Baylor’s offer as an admission as to the appropriate amount
of compensation for delay. Viewed in this light, the Plaintiffs’ rejection of Baylor’s offer signifies only that the Plaintiffs
felt that Baylor’s offer was inadequate

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compensate the Scotts for the effect of a delay in the trial. Baylor’s admissions certainly constituted
some evidence as to the proper amount of Plaintiffs’ loss

6. In the final analysis, an award of attorney fees - even a substantial award in the amount of
over $25,000 - leaves Baylor in a position of having substantially benefitted from its own meritless
and bad faith removal petition. This case was set for trial in state court (and would have been tried,
if not for Baylor’s removal petition) almost five months ago, and as a direct and proximate result
of Baylor’s improper removal of the case, the case will not be reached for trial for at least several
more months By the admission of Baylor and its counsel in the state court proceeding (through their
offer to pay damages for any delay they caused), each month of delay that they could obtain was
worth $82,720.00 to them. Thus, to date, Baylor has obtained a postponement of the trial worth, by
its own admission, over $400,000 for the price of a $25,000 attorney fee award. In effect, the
resolution recommended by the Magistrate Judge allows Baylor to reap a substantial reward for the
filing of an objectively meritless (and, in Plaintiffs’ view, bad faith) removal petition, and creates
an incentive for Baylor and other similarly situated litigants to do the same thing in other cases where
a continuance of a state court action is viewed as being substantially valuable.

7. For the foregoing reasons, Plaintiffs OBJECT to the “Findings, Conclusions and
Recommendation of the United States Magistrate Judge” entered in the above matter on November
4, 2002, and requests that the Court: (a) determine whether Baylor acted in “bad faith;” and (2) find,
upon a determination of Baylor’s “bad faith,” that the Plaintiffs are fully entitled to recover for all

injury, losses, and damages occasioned by Baylor’s delay of the state court proceedings

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Respectfully submitted,

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AD LITEM
CERTIFICATE OF SERVICE

l hereby certify that a true and correct copy of the above and foregoing has been sent by U.S.
Certified Mail, Return Receipt Requested and/or Hand-Delivered to all counsel of record on the

/% day of November, 2002. /%M %%g

C. Mi/chael Clark

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